      Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 1 of 8 PageID #:1




                     IN THE FEDERAL DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION



    DAVID LANDGREN,

    Plaintiff,

        v.                                            Case No.: 21-cv-3899

    COOK COUNTY,

    Defendant.




                              COMPLAINT AND JURY DEMAND

       NOW COMES Plaintiff DAVID LANDGREN, by and through undersigned counsel,

bringing this Complaint and Jury Demand against Defendant COOK COUNTY for violations of

the Americans with Disabilities Act of 1990, as amended (42 U.S.C. § 12101 et seq.) and the

Age Discrimination in Employment Act of 1967, as amended (29 U.S.C. § 621 et seq. Plaintiff

also brings a supplemental state law claim for violation of 820 ILCS 305/4(h) for failure to rehire

or recall an employee to service because of Plaintiff’s exercise of his rights under the Illinois

Workers’ Compensation Act. In support of his claims, Plaintiff states as follows:

                                  JURISDICTION AND VENUE

       1.        Jurisdiction is proper under 28 U.S.C. § 1331 because this action arises under the

   laws of the United States. This action is brought pursuant to 42 U.S.C. § 12101 et seq. for

   disability discrimination and 29 U.S.C. § 621 for age discrimination. Plaintiff filed a Charge

   of Discrimination with the Equal Employment Opportunity Commission for age and

   disability discrimination on or about September 9, 2020 and was issued a Notice of Right to




                                                  1
   Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 2 of 8 PageID #:2




Sue on or about April 26, 2021. This Court has supplemental state law jurisdiction over

Plaintiff’s failure to recall/rehire claim under the Illinois Workers’ Compensation Act

pursuant to 28 U.S.C. §1367.

    2.      Venue is proper under 28 U.S.C. § 1391(b). The parties reside and/or conduct

business in this judicial district, and the events giving rise to the claims asserted herein

occurred in this judicial district as well.

                                              PARTIES

    3.      Plaintiff DAVID LANDGREN (hereinafter “Plaintiff”) was an employee of

Defendant. Plaintiff’s most recent position at Defendant was a security specialist within the

Juvenile Temporary Detention Center.

    4.      Defendant COOK COUNTY (hereinafter “Defendant”) is a public employer that

oversees the Juvenile Temporary Detention Center, which temporarily detains youth between

the ages of ten (10) and sixteen (16) who await adjudication of cases before the Juvenile

Division of the Cook County Courts. At all times relevant, Defendant employed Plaintiff in

its Juvenile Temporary Detention Center as a security specialist. Defendant employs over

500 individuals.

                                                FACTS

    5.      Plaintiff was hired at Defendant on or about August 31, 2009. Plaintiff’s most

recent position was Security Specialist II at the Juvenile Temporary Detention Center.

    6.      In or around June of 2018, Plaintiff was injured while on duty. Plaintiff was

head-butted several times by an inmate, causing injury to his head and cervical spine.

    7.      At the time of his injury, Plaintiff was 58 years old.

    8.      Following his injury, Plaintiff was placed on injured on duty (IOD) leave.




                                                 2
   Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 3 of 8 PageID #:3




   9.      In or around September of 2019, an independent medical examiner concluded

Plaintiff’s restrictions on pushing, pulling and lifting were permanent.

   10.     In November of 2019, Defendant enrolled Plaintiff in a vocational rehabilitation

program. The program sought to place Plaintiff in a different position that could

accommodate his permanent physical restrictions.

   11.     Upon information and belief, hiring at Defendant is processed and overseen by

one centralized human resources department called the Bureau of Human Resources.

   12.     Through the vocational rehabilitation program, Plaintiff applied to numerous jobs

that would have accommodated his physical restrictions. These jobs included at least dozens

of jobs within Defendant for which he was qualified.

   13.     One of the jobs Plaintiff applied for within Defendant was a light duty security

officer position with Defendant’s Department of Facilities Management. Plaintiff applied for

the position in or around February 2020. Plaintiff was qualified for the position. Plaintiff

never received a response regarding this application, despite being told he was qualified for

the position.

   14.     Plaintiff also applied to several analyst, security officer and investigator positions

throughout Defendant’s various departments. Plaintiff was qualified for all of the positions

within Defendant that he applied for.

   15.     Plaintiff never received an interview and was not selected for any of the dozens of

jobs he applied for within Defendant.

   16.     In or around November of 2020, Plaintiff was told by a representative of

Defendant that he was not selected for any of the positions at Defendant because of a hiring




                                             3
  Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 4 of 8 PageID #:4




freeze. Upon information and belief, the stated reason for Plaintiff’s non-hire was pretext,

and there was no such hiring freeze.

   17.     Upon information and belief, employees at Defendant responsible for reviewing

and hiring new employees are aware of whether applications are submitted through a

vocational rehabilitation program.

   18.     Upon information and belief, similarly situated younger employees have been

given more favorable treatment in Defendant’s hiring process.

   19.     Upon information and belief, similarly situated employees who are not disabled

have been given more favorable treatment in Defendant’s hiring process.

   20.     Upon information and belief, similarly situated employees who have not

exercised rights under the Illinois Workers’ Compensation Act have been given more

favorable treatment in Defendant’s hiring process.

                                       COUNT I:
      Disability Discrimination in Violation of the Americans with Disabilities Act

   21.     Plaintiff reasserts and realleges all previously pled paragraphs as if fully stated

herein.

   22.     At all relevant times, Plaintiff was disabled within the meaning of the Americans

with Disabilities Act, 42 U.S.C. 12111 et seq and under Section 504 of the Rehabilitation Act

of 1973. Plaintiff has a musculoskeletal condition stemming from an injury suffered in June

of 2018.

   23.     Plaintiff’s condition substantially limits one or more major life activities. The

condition limits Plaintiff’s ability to perform manual tasks, to push, pull, and to reach as

identified under the ADA. (42 U.S.C. § 12102(2)(A)). Furthermore, the ADA specifies that




                                              4
   Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 5 of 8 PageID #:5




major life activities also include the operation of major bodily functions such as

musculoskeletal functions. (42 U.S.C. § 12102(2)(b)).

    24.     Plaintiff was employed by Defendant since August of 2009. Plaintiff performed

his job well and received adequate evaluations.

    25.     Plaintiff is a qualified individual as he is a person who met the legitimate skill,

experience, education, or other requirements of the employment positions that he applied for,

and he could perform the essential functions of the positions with or without reasonable

accommodation.

    26.     Plaintiff applied for numerous positions within Defendant for which he was

qualified. Those positions would have accommodated Plaintiff’s disability and would not

have placed an undue hardship on Defendant.

    27.     Defendant did not hire Plaintiff for any of the positions to which he applied

because of Plaintiff’s disability.

    28.     Defendant’s unlawful discrimination on the basis of Plaintiff’s disability caused

Plaintiff damages, including but not limited to: lost wages, emotional pain and suffering,

costs and fees.

                                        COUNT II:
              Disability Discrimination in Violation of the Rehabilitation Act

    29.     Plaintiff reasserts and realleges all previously pled paragraphs as if fully stated

herein.

    30.     Section 504 of the Rehabilitation Act states that “[n]o otherwise qualified

individual with a disability … shall, solely by reason of her or his disability, be excluded

from the participation in, be denied the benefits of, or be subjected to discrimination under

any program or activity receiving Federal financial assistance…” 29 U.S.C. § 794(a).



                                              5
   Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 6 of 8 PageID #:6




    31.       Rehabilitation Act claims are analyzed under the same standards as those used for

ADA claims, except the Rehabilitation Act includes as an additional element the receipt of

federal funds by the defendant.

    32.       Defendant receives federal funding.

    33.       Defendant’s acts as described above, including its failure to place Plaintiff in one

of the numerous positions to which he applied and was qualified, were prohibited by Section

504 of the Rehabilitation Act.

    34.       Defendant’s unlawful discrimination against Plaintiff’s disability in violation of

the Rehabilitation Act caused Plaintiff damages, including but not limited to, lost wages,

emotional pain and suffering, costs and fees.

                                     COUNT III:
     Age Discrimination in Violation of the Age Discrimination in Employment Act

    35.       Plaintiff reasserts and realleges all previously pled paragraphs as if fully stated

herein.

    36.       Plaintiff is, and at the time of the alleged adverse treatment was, over the age of

forty (40).

    37.       Defendant discriminated against Plaintiff, including, but not limited to, by failing

to place him in one of the numerous positions to which he applied and was qualified to work

at Defendant.

    38.       Defendant’s unlawful conduct was in violation of the Age Discrimination in

Employment Act of 1967, as amended (29 U.S.C. § 621 et seq.).

    39.       Defendant’s conduct was willful.

    40.       Defendant’s unlawful conduct caused Plaintiff damages, including, but not

limited to, lost earnings, emotional harm and suffering, costs and attorney’s fees.



                                                6
    Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 7 of 8 PageID #:7




                                     COUNT IV:
   Supplemental State Law Claim for Failure to Recall/Rehire in Violation of the Illinois
                             Workers’ Compensation Act

     41.       Plaintiff reasserts and realleges all previously pled paragraphs as if fully stated

  herein.

     42.       Plaintiff was exercising his rights under the Illinois Workers’ Compensation Act,

  820 ILCS 305/ et seq. when he pursued a work injury claim following his injury on duty.

     43.       Following the information that his injuries were permanent and that he would

  require permanent physical work restrictions, Plaintiff applied for numerous positions within

  Defendant for which he was qualified. Defendant refused to hire Plaintiff for any of these

  positions.

     44.       Defendant’s refusal to allow Plaintiff to return to work was motivated by an intent

  to retaliate against Plaintiff for having pursued rights under the Illinois Workers’

  Compensation Act, in violation of section 4(h) of the Act.

     45.       Defendant’s unlawful conduct caused Plaintiff damages, including but not limited

  to, lost wages, emotional pain and suffering, costs and fees.

                        CONCLUSION AND PRAYER FOR RELIEF

  WHEREFORE, Plaintiff DAVID LANDGREN prays for judgment against Defendant

COOK COUNTY, awarding:

  a. Actual damages;

  b. Compensatory damages;

  c. Punitive damages;

  d. Liquidated damages;

  e. Costs;




                                                 7
     Case: 1:21-cv-03899 Document #: 1 Filed: 07/22/21 Page 8 of 8 PageID #:8




   f. Attorney’s fees; and

   g. Such other relief as the Court deems just and equitable.



                                    Respectfully Submitted,
                                    DAVID LANDGREN
                                    Plaintiff




                                    ______________________________
                                    Christina Abraham
                                    Attorney for Plaintiff

Attorney No. 6298946
Christina Abraham, Esq.
Abraham Law & Consulting, LLC.
161 N. Clark Street, Suite 1600
Chicago, IL 60601
(312) 588-7150




                                               8
